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 UNITED STATES DISTRICT COURT SOUTHERN
 DISTRICT OF NEW YORK
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  In Re: New York City Policing During Summer 2020
                                                                              MOTION TO WITHDRAW
  Demonstrations
                                                                              20 Civ. 8924 (CM) (GWG)
  ----------------------------------------------------------------------- x

          PLEASE TAKE NOTICE that Sergey Marts hereby withdraws as counsel in the above-

 captioned consolidated litigation. After June 16, 2023, I will no longer be associated with the

 Corporation Counsel of the City of New York.

 Dated: New York, New York
        June 16, 2023

                                                     HON. SYLVIA O. HINDS-RADIX
                                                     Corporation Counsel of the City of New York
                                                     Attorney for Defendant City of New York
                                                     100 Church Street
                                                     New York, New York 10007
                                                     (212) 356-5051

                                                By: _______________________
                                                   Sergey Marts
                                                   Assistant Corporation Counsel
                                                   Special Federal Litigation Division

cc:     All Counsel (By ECF)
